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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          ORLANDO DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                            Case No. 6:24−bk−02642−GER
                                                                                  Chapter 13
Karlyle C Jones



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

   On May 28, 2024 the above named Debtor filed a Voluntary Petition under Chapter 13 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. Debtor is provided
an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original petition file
date unless otherwise noted. This case may be dismissed without further notice or hearing if Debtor fails to timely
correct the noted deficiency.

    Debtors who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court
in person at the Court or by email, facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to
file by email as there may be delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.

Debtors may file papers in Orlando cases at the following addresses. If papers are filed by email or fax, Debtor must
also mail the papers to the Courthouse.

flmb−intake−orlando@flmb.uscourts.gov
(Fax) 407−237−8005
U.S. Bankruptcy Court
400 West Washington Street
Suite 5100
Orlando, FL 32801

           Debtor failed to file a Chapter 13 Plan pursuant to Fed. R. Bankr. P. 3015(b) or filed an unsigned
           Chapter 13 Plan. Debtor must file a Debtor−signed Chapter 13 plan, using the Court's Model Chapter
           13 Plan, within 14 days from the date the petition was filed, together with a certificate of service to
           all parties with an attached matrix, pursuant to Local Rule 7005−1. A link to the Court's Model Plan
           is available on the Court's website at
           http://www.flmb.uscourts.gov/procedures/documents/Chapter13Plan.pdf

           Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of service
           of this notice. Payment shall be made by cashier’s check or money order payable to Clerk, U.S.
           Bankruptcy Court at the address indicated below.



                                                         FOR THE COURT
              Dated: May 31, 2024                        Sheryl L. Loesch , Clerk of Court
                                                         George C. Young Federal Courthouse
                                                         400 West Washington Street
                                                         Suite 5100
                                                         Orlando, FL 32801
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The Clerk's office must serve a copy of this notice on interested parties.
*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two individuals.
